11-15686-cgm   Doc 26   Filed 09/23/15    Entered 09/23/15 15:50:54   Main Document
                                         Pg 1 of 8
11-15686-cgm   Doc 26   Filed 09/23/15    Entered 09/23/15 15:50:54   Main Document
                                         Pg 2 of 8
11-15686-cgm   Doc 26   Filed 09/23/15    Entered 09/23/15 15:50:54   Main Document
                                         Pg 3 of 8
11-15686-cgm   Doc 26   Filed 09/23/15    Entered 09/23/15 15:50:54   Main Document
                                         Pg 4 of 8
11-15686-cgm   Doc 26   Filed 09/23/15    Entered 09/23/15 15:50:54   Main Document
                                         Pg 5 of 8
11-15686-cgm   Doc 26   Filed 09/23/15    Entered 09/23/15 15:50:54   Main Document
                                         Pg 6 of 8
11-15686-cgm   Doc 26   Filed 09/23/15    Entered 09/23/15 15:50:54   Main Document
                                         Pg 7 of 8
11-15686-cgm   Doc 26   Filed 09/23/15    Entered 09/23/15 15:50:54   Main Document
                                         Pg 8 of 8
